                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

  BITUMINOUS CASUALTY CORPORATION, )
                                   )
           Plaintiff,              )
                                   )
  v.                               )                        No.:   3:09-CV-60
                                   )                               (VARLAN/SHIRLEY)
  WALDEN RESOURCES, LLC, et al.,   )
                                   )
           Defendants.             )


                                            ORDER

         This civil action is before the Court on the following: plaintiff’s Motion for Voluntary

  Dismissal [Doc. 128]; Defendant Lexington Insurance Company, Superior Well Services,

  and Griffith Service LLC Inc. Motion for Withdraw of Their Motion for Reconsideration of

  this Court’s Memorandum Opinion and Order of November 19, 2009 [Doc. 126]; and

  Defendant Jonathan Vann’s Notice Withdrawing Pending Motion for Reconsideration of this

  Court’s Granting of Defendants National Pollution Funds Center and the United States

  Environmental Protection Agency’s Motion to Dismiss [Doc. 127].

         In plaintiff’s motion, plaintiff submits that “the policies providing coverage for the

  incident at issue have been exhausted, and that there is therefore nothing left to determine

  regarding them” [Doc. 128]. It therefore requests that the Court enter an order of voluntary

  dismissal pursuant to Rule 41(a)(2) of the Federal Rules of Civil Procedure [Id.] Lexington




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  Insurance Company, Superior Well Services, Inc., and Griffith Service LLC1 request that the

  Court withdraw their motion for reconsideration of this Court’s memorandum opinion and

  order of November 19, 2009 because the case has been resolved [Doc. 126]. Jonathan Vann2

  requests that the Court withdraw his motion for reconsideration of this Court’s granting of

  defendants National Pollution Funds Center and the United States Environmental Protection

  Agency’s motion to dismiss without reason [Doc. 127]. No responses have been filed, and

  the time for doing so has passed. See E.D. TN. LR 7.1(a), 7.2.

         The Court finds that plaintiff’s request for an order of voluntary dismissal [Doc. 128]

  is well-taken and is hereby GRANTED. Accordingly, pursuant to Federal Rule of Civil

  Procedure 41(a)(2), plaintiff’s claims against all remaining defendants are hereby

  DISMISSED without prejudice. The requests to withdraw the motions for reconsideration

  [Docs. 126, 127] are DENIED AS MOOT. The clerk is DIRECTED to close this case.

         IT IS SO ORDERED.



                                              s/ Thomas A. Varlan
                                              UNITED STATES DISTRICT JUDGE




         1
           Lexington Insurance Company, Superior Well Services, Inc., and Griffith Service LLC
  were dismissed from this case on July 13, 2010 pursuant to agreed orders of dismissal [Docs. 118,
  119, and 122].
         2
           Jonathan Vann was dismissed from this case on July 9, 2010 pursuant to an agreed order
  of dismissal [Doc. 117].

                                                 2



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